Case 1:16-cv-06496-LAK-GWG Document A470 Filed 06/22/21 Page 1of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

|
RICHARD DENNIS, et al.,
Plaintiffs,

-against- 16-cv-6496 (LAK)

JP MORGAN CHASE & CO., et al.,

Defendants.

ORDER

Lewis A. KAPLAN, District Judge.

The time of plaintiffs to submit a consplidated motion for conditional class
certification ofa settlement class in connection with plaintiffs’ proposed settlements with Australia
and New Zealand Banking Group Ltd., Commonwealth Bank of Australia, Morgan Stanley, and
Morgan Stanley Australia Limited and for related relief is extended to and including July 19, 2021.

 

SO ORDERED.

Dated: June 21, 2021 L i;

Lewi$ A, Raph n
' United States ee Judge

 

 
